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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division

LULA WILLIAMS, et al.,                              :
                                                    :
                              Plaintiffs,           :
              v.                                    :      Civil Action No. 3:17-cv-461 (REP)
                                                    :
BIG PICTURE LOANS, LLC, et al.,                     :
                                                    :
                              Defendants.           :
                                                    :


LULA WILLIAMS, et al.,                              :
                                                    :
                              Plaintiffs,           :
              v.                                    :      Civil Action No. 3:19-mc-1 (REP)
                                                    :
BIG PICTURE LOANS, LLC, et al.,                     :
                                                    :
                              Defendants.           :
                                                    :


LULA WILLIAMS, et al.,                              :
                                                    :
                              Plaintiffs,           :
              v.                                    :      Civil Action No. 3:19-mc-2 (REP)
                                                    :
BIG PICTURE LOANS, LLC, et al.,                     :
                                                    :
                              Defendants.           :
                                                    :

                   MEMORANDUM IN SUPPORT OF MOTION TO SEAL

       Plaintiffs, by counsel, pursuant to Rule 5 of the Local Rules of the United States District

Court for the Eastern District of Virginia, move to seal Exhibits 2-7 attached to their Memorandum

in Support of their Motion to Compel Response to Subpoena Issued to Rosette, LLP, as well as




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the portions of their memorandum that discuss or quote from those exhibits. (Dkt. Nos. 306-2-

306-7).

          To present necessary information in support of their statement of outstanding discovery

disputes, Plaintiffs needed to file Exhibits 2-7, which contained documents or information

designated as confidential in discovery. Generally, there is a First Amendment and common law

qualified public right of access to judicial proceedings, including the records of all such

proceedings. Globe Newspaper Co. v. Superior Ct., 457 U.S. 596, 606–07 (1982); Nixon v.

Warner Comm’ns Inc., 435 U.S. 589, 597 (1978). Non-discovery motions are presumed to be

records of judicial proceedings to which the right of access attaches unless there is a compelling

confidentiality interest. Id. If the interest in preserving confidentiality is compelling, the remedy

must be narrowly tailored. Id. The judicial officer may deny access when sealing is “essential to

preserve higher values and is narrowly tailored to serve that interest.” Baltimore Sun Co. v. Goetz,

886 F.2d 60, 65–66 (4th Cir. 1989).

          One exception to the public’s right of access is where such access to judicial records could

provide a “source[ ] of business information that might harm a litigant’s competitive standing.”

Nixon, 435 U.S. at 498. Courts, including the Fourth Circuit, have recognized an exception to the

public’s right of access when a case involves trade secrets. Woven Elecs. Corp. v. Advance Grp.,

Inc., 930 F.2d 913 (4th Cir. 1991) (citing Valley Broadcasting v. United States District Court, 798

F.2d 1289, 1294 (9th Cir. 1986); In re Iowa Freedom of Information Council, 724 F.2d 658 (8th

Cir. 1983); Brown & Williamson Tobacco Co. v. FTC, 710 F.2d 1165, 1180 (6th Cir. 1983)).

          Here, Exhibits 2-7 are documents that Rosette designated as confidential under the

protective order in the main Williams case because they allegedly contain trade secrets or other

proprietary information. (Williams, 3:17-cv-461, Dkt. No. 19.) Plaintiffs do not believe the



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information in any of these exhibits were properly designated as confidential, but nonetheless

move to seal in accordance with the Protective Order in this case.

                                             Respectfully submitted,
                                             PLAINTIFFS

                                             By:______/s/_____________________


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 7th day of March, 2019, I will electronically file the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to all counsel of record.



                                              ________/s/____________________
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